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 3                                 UNITED STATES DISTRICT COURT
 4                                         DISTRICT OF NEVADA
 5                                                     ***
 6     UNITED STATES OF AMERICA,                              Case No. 2:17-cr-00001-JAD-CWH
 7                            Plaintiff,
                                                              ORDER
 8           v.                                               (ECF Nos. 266, 267)
 9     BRUNO MACEDO CORREIA, et al.,
10                            Defendants.
11

12           Before the court is defendant Bruno Correia’s sealed Motion to Disclose Grand Jury

13    Transcripts, (ECF No. 266), filed April 24, 2018, the government’s sealed response (ECF No.

14    308), filed May 29, 2018, and Correia’s sealed reply (ECF No. 320), filed June 4, 2018.

15    Defendant Francisco Filho joined the motion (ECF No. 267) on April 24, 2018.

16                                            I. BACKGROUND

17           Numerous Brazilian nationals are alleged to have conspired to commit credit card fraud

18    throughout the United States. The group’s fraud activities took place over several years and were

19    conducted by shifting assortments of members of the group. On January 3, 2017, a grand jury

20    returned an indictment charging Defendant Bruno Macedo Correia with the following crimes:

21    Count 1 – Conspiracy to Commit Fraud and Related Activity in Connection with Access Devices

22    (18 U.S.C. § 1029(b)(2)); and Count 29 – Conspiracy to Commit Money Laundering (18 U.S.C. §

23    1956(h)).

24           Correia moves to disclose grand jury transcripts. It is not clear from the motion which

25    transcripts are requested, but it appears that the request is for the testimony of confidential

26    informants. The government interprets the motion as a request for testimony of confidential

27    informants, and indicates that no confidential informants testified before the grand jury. In reply,

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 1    Correia indicates that his request was not limited to the confidential informants, but for any

 2    witness making allegations against him.

 3                                             II. DISCUSSION

 4           Rule 6(e)(3)(E)(I) of the Federal Rules of Criminal Procedure permits the Court to order

 5    the disclosure of grand jury proceedings “preliminarily to or in connection with a judicial

 6    proceeding.” The Supreme Court has held that “parties seeking grand jury transcripts under Rule

 7    6(e) must show that the material they seek is needed to avoid a possible injustice in another

 8    judicial proceeding; that the need for disclosure is greater than the need for continued secrecy;

 9    and that their request is structured to cover only material so needed.” Douglas Oil Co. v. Petrol

10    Stops Northwest, 441 U.S. 211, 223 (1979). A strong showing of particularized need is required.

11    United States v. Sells Eng’g, Inc., 463 U.S. 418, 443 (1983); United States v. Perez, 67 F.3d 1371,

12    1381 (9th Cir. 1995).

13           Correia argues that he needs to obtain grand jury transcripts of witness testimony for use

14    as impeachment at trial because his guilt or innocence may turn on what was said, especially in

15    conspiracy cases, and that much of the evidence is uncorroborated. In reply, he clarifies that his

16    request is for the transcripts of all witnesses who will testify against him, and the court could

17    conduct an in camera review to alleviate security concerns.

18           The general need to conduct cross-examination is hardly a strong showing of

19    particularized need for immediate release of grand jury transcripts, and the request is not tethered

20    to any particular witness. Other than regarding confidential informants, who did not testify

21    before the grand jury, Correia’s only specific argument is that “Bruno” is a common name also

22    used by others, including co-defendants, and that witness confusion is therefore possible. The

23    government indicates that there is extensive evidence, including videotaped surveillance, which

24    corroborates the testimony of witnesses. The court is not persuaded that speculative confusion

25    about the use of the name “Bruno” is sufficient to justify release of the transcripts. Correia

26    provides no suggestion as to the purpose of an in camera review, but if it is to generally search

27    for impeachment evidence, the court declines.

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 1                                          III. CONCLUSION

 2            Correia has failed to meet its burden of demonstrating particularized need for any grand

 3    jury transcripts.

 4            Based on the foregoing and good cause appearing therefore,

 5            IT IS HEREBY ORDERED that joinder by Francisco Filho (ECF No. 267) is

 6    GRANTED.

 7            IT IS FURTHER ORDERED that Defendant Bruno Correia’s Motion to Disclose Grand

 8    Jury Transcripts (ECF No. 266) is DENIED.

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10            DATED: July 2, 2018

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                                                           C.W. HOFFMAN, JR.
14                                                         UNITED STATES MAGISTRATE JUDGE
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